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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF MINNESOTA

                                                                                BKYNo. 25-31019
In re:
                                                                                          Chapter 7
John Sharkey,

                Debtor.

                                                                    ADV No. - - - - - - -
John Neumiller,

                Plaintiff,
                                                       ADVERSARY COMPLAINT
vs.

John Sharkey,

                Defendant.


         Plaintiff John Neumiller ("Plaintiff'), by and through his undersigned counsel, for his

Complaint against Defendant John Sharkey ("Defendant" or "Sharkey"), states and alleges as

follows:

                                  JURISDICTION AND VENUE

1.    This adversary proceeding arises under 11 U.S.C. §§ 523(a)(2)(A) and 523(a)(6) and Federal
      Rule of Bankruptcy Procedure 7001.

2.    This Court has jurisdiction pursuant to 28 U.S.C. § 1334 and 28 U.S.C. § 157.

3.    Venue is proper in this district pursuant to 28 U.S.C. § 1409(a).

4.    This is a core proceeding under 28 U.S.C. § 157(b)(2)(I).

5.    Plaintiff consents to the entry of final orders and judgment by the Bankruptcy Court.

                                             PARTIES

6.    Plaintiff John Neumiller is an individual residing in the State of Minnesota.

7.    Defendant John Sharkey is the debtor in the above-captioned bankruptcy case and was, at all
      relevant times, operating as a homebuilder under the name Sharkey Design Build LLC.
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8.   At all relevant times, John Sharkey personally solicited, negotiated, and executed the
     Contract, accepted payments directly, and executed the Quit Claim Deed. Plaintiffs
     dealings were exclusively with Sharkey in his individual capacity. The acts and omissions
     giving rise to this adversary proceeding were committed by him personally and not merely
     in a representative capacity. The Contract, the Quit Claim Deed, and other relevant
     transactional documents are described in greater detail below.

                                  FACTUAL ALLEGATIONS

9.   On or about November 9, 2020, Plaintiff entered into a written New Home Construction
     Agreement (the "Contract") with Defendant d/b/a Sharkey Design Build LLC for the
     construction of a new home on Tract C of Registered Land Survey No. 641, located at 300
     Ryan A venue, St. Paul, Minnesota (''Tract C").

10. Prior to executing the Contract, Defendant had encumbered Tracts A, B, and C with a
    m01igage in favor of Vermillion State Bank, recorded on August 19, 2020, in the Torrens
    prope1iy system under Document No. T02593898.

11. Minnesota law imposes a statutory duty on sellers of residential real prope1iy under Minn.
    Stat. § 513 .55 to disclose, in good faith, all material facts known to the seller that could
    adversely and significantly affect an ordinary buyer's use and enjoyment of the property.
    This includes undisclosed liens or encumbrances that materially impair legal ownership or
    intended use. Defendant, having knowledge of the m01igage lien encumbering Tract C, had
    a duty under Minn. Stat. § 513 .5 5 to disclose this material fact to Plaintiff prior to conveying
    the property.

12. Defendant failed to disclose the existence of this mortgage lien to Plaintiff at any point
    during the course of contracting, construction, or conveyance.

13. In late 2022 and early 2023, after the construction of the home was complete, Plaintiff began
    inquiring about transferring the land into his and his wife's names, including via an email
    dated Februaiy 6, 2023.

14. Over the ensuing months, Plaintiff repeatedly followed up with Sharkey regarding the
    promised transfer of Tract C. These communications included emails, calls, and in-person
    requests. At no time did Sharkey acknowledge any encumbrance or reason for delay.

15. At no time during any of these communications did Sharkey disclose that Tract C, including
    the newly constructed home in which Plaintiff and his family had been living in since
    Februaiy 10, 2022, remained encumbered by a m01igage, or that he was unable to transfer
    the land without the consent of Vermillion State Bank.

16. Despite persistent follow-up by Plaintiff, Sharkey delayed transferring title to Tract C for
    over a year after the family had moved in. This delay occurred notwithstanding Plaintiff's
    clear and repeated requests for timely transfer. The delay coincided with the execution of a

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    Partial Release of Mortgage recorded on November 23, 2022 (Document No. T0266 l 562),
    which released only Tract B from the 2020 mmigage.

17. This selective release-removing the lien from Tract B but not Tract C-demonstrates that
    Sharkey was actively working with the Bank and was fully aware of the continuing
    encumbrance on Tract C.

18. On or about February 14, 2023, Defendant caused Sharkey Design Build LLC to execute a
    Quit Claim Deed conveying Tract C to Plaintiff. The deed was recorded as Document No.
    T02685841.

19. Plaintiff had wired funds to Defendant in reliance on receiving full and unencumbered title
    to Tract C. The payments included both construction-related disbursements and
    consideration for the transfer of the land.

20. Plaintiff reasonably and justifiably relied on Defendant's silence regarding the mortgage
    lien, Defendant's conduct in accepting payment, and the execution of the Quit Claim Deed,
    believing the prope1iy was free of undisclosed liens.

21. Plaintiff only learned of the existing mmigage lien after the transfer, when counsel for
    Vermillion State Bank contacted him and provided documentation showing that Tract C
    remained subject to the 2020 mortgage.

22. Sharkey knew or should have known that failing to disclose the mo1igage would induce
    Plaintiff to pay and accept title under false pretenses.

23. Sharkey's concealment of the mo1igage lien and failure to resolve it prior to transfer was an
    intentional omission made for the purpose of obtaining money and transferring the property
    without discharging the lien.

24. Sharkey benefitted from the funds paid and avoided satisfying the mmigage obligation
    associated with Tract C.

25. As a result of Sharkey' s nondisclosure, Plaintiff became entangled in a foreclosure
    proceeding initiated by Vermillion State Bank. Although the foreclosure was ultimately
    canceled, it created legal unce1iainty, incurred attorney fees, and impaired Plaintiffs ability
    to secure financing or sell the property.

26. In an effort to protect his interest and mitigate further damage, Plaintiff negotiated with
    Vermillion State Bank to resolve the outstanding mortgage encumbering Tract C.

27. As part of this transaction, Plaintiff paid $350,304.70 to Vermillion State Bank in exchange
    for an assignment of the 2020 Mortgage. The assignment transferred to Plaintiff all rights
    previously held by the Bank, including the mortgage lien against Sharkey's personal
    residence located in Bayport, Minnesota.


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28. The assignment was recorded on or about January 23, 2024, in Washington County.

29. Following this assignment, Vermillion State Bank executed and recorded a Release of
    Mortgage as to Tract C, thereby clearing title to Plaintiff's property and resolving the
    encumbrance that Sharkey had failed to disclose or satisfy.

30. Public reports confirm that Defendant Sharkey has faced at least 18 lawsuits and multiple
    homeowner complaints for similar conduct involving uncompleted homes,
    misrepresentations, and financial impropriety.

31. The Minnesota Department of Labor and Industry revoked Defendant's contractor license
    based on these complaints, citing misrepresentations, failure to communicate, and financial
    mismanagement. These facts further corroborate Plaintiff's allegations of intentional and
    injurious conduct.

                                 COUNT!
                 ACTUAL FRAUD AND FRAUDULENT/INTENTIONAL
                  MISREPRESENTATIONS -11 U.S.C. § 523(a)(2)(A)

32. Plaintiff realleges and incorporates by reference the preceding paragraphs of the Complaint
    as if fully set forth herein.

33. Sharkey made false representations, including by implication and omission, regarding the
    title status of Tract C.

34. Specifically, Sharkey failed to disclose the 2020 mortgage lien, despite knowing that
    Plaintiff was paying funds in reliance on receiving clean title.

35. Sharkey knew these representations were false or acted with reckless disregard for the truth.

36. Sharkey intended for Plaintiff to rely on his silence and conduct in order to secure payment.

37. Plaintiff justifiably relied on these representations and omissions in wiring funds and
    accepting title.

38. Plaintiff sustained damages as a direct and proximate result, including paying for
    encumbered prope1iy and facing impaired title.

39. The debt arising from Sharkey's conduct is nondischargeable under 11 U.S.C. §
    523(a)(2)(A).


                                 COUNT II
               WILLFUL AND MALICIOUS INJURY - 11 U.S.C. § 523(a)(6)

40. Plaintiff realleges and incorporates by reference the preceding paragraphs of the Complaint
    as if fully set f01ih herein.


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41. Sharkey's actions in accepting funds, transferring encumbered prope1iy, and concealing the
    m01igage lien were deliberate and wrongful.

42. Sharkey knew or was substantially ce1iain that Plaintiff would be harmed by his conduct.

43. Sharkey's actions caused willful and malicious injury to Plaintiff's prope1iy rights.

44. The resulting debt is nondischargeable under 11 U.S.C. § 523(a)(6).


       WHEREFORE, Plaintiff respectfully requests the following relief:

1.   A judgment declaring that the debt owed to Plaintiff is nondischargeable under 11 U.S.C. §
     523(a)(2)(A) and/or § 523(a)(6);

2.   An award of compensatory damages in an amount of $350,304.70, or such other amount as
     may be proven at trial;

3.   Costs and reasonable attorneys' fees to the extent permitted by law; and

4.   Such other and fu1iher relief as the Court deems just and equitable.


                                              DAVE BURNS LAW OFFICE, LLC


Dated: July 11, 2025                          /e/ David M. Burns
                                              David M. Burns, #337869
                                              1025 Grain Exchange South
                                              400 South Fourth Street
                                              Minneapolis, MN 55415
                                              Phone: 612-677-8351
                                              Fax: 866-223-3806
                                              Email: dave@daveburnslaw.com

                                              Attorney for Plaintiff


                                        VERIFICATION

       I, John Neumiller, certify that under penalty of pe1jury that the factual information
contained in the referenced Complaint is true and correct to the best of my knowledge,
information and belief.


Dated: July 11, 2025                                  John Neumiller (Jul 11, 2025 18:08 CDT)

                                                      John Neumiller

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